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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION



      UNITED STATES OF AMERICA,

              Plaintiff,

      vs.                                             CASE NO. 6:96-CR-32-ORL-19

      SAMUEL FREDERICK SESSIONS,

              Defendant.



                                                 ORDER

                   The United States Sentencing Commission has promulgated Amendment 706

      lowering the base offense level for cocaine base (crack cocaine) offenses by two levels for

      eligible defendants sentenced on or after November 1, 2007. The Commission later decided

      this Amendment should be applied retroactively to Defendants sentenced before November

      1, 2007. The Court has undertaken a preliminary review of Defendant's case, in which

      Defendant was sentenced prior to November 1, 2007. Based on that review, Defendant may

      be eligible for reduction in Defendant's base offense level. Accordingly, the Court acting

      on its own motion pursuant to 18 U.S.C. §3582(c)(2), issues the following Order:

              1)      The Office of the Federal Public Defender is appointed to represent

      Defendant for the purpose of seeking a reduction of Defendant's original sentence and shall

      file a notice of appearance, a notice of conflict, or a notice that Defendant is not eligible for

      the services of the Public Defender within seven (7) days of this Order. If a notice of

      conflict is filed, the Court may appoint CJA counsel to represent Defendant. This
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      appointment of counsel does not deprive Defendant of the right to retain private counsel

      should Defendant have the financial resources to do so.

             2)      The United States Attorney's Office shall cause a notice of appearance to be

      entered on behalf of the Government within seven (7) days of this Order.

             3)      The United States Probation Office shall provide this Court, Defendant's

      counsel, and Government counsel a supplemental presentence report within fifteen (15)

      days from the date of this Order, subject to an extension of time by Order of Court upon

      request by the Probation Office. The supplemental report shall address the issues of whether

      Defendant is eligible for a reduction of Defendant's sentence and, if so, whether Defendant

      is suitable for such a sentence reduction pursuant to the provisions of the Amendment and

      U.S.S.C. §1B1.10, which is scheduled to become effective on March 3, 2008. The

      supplemental report shall specifically include the following: (a) whether Defendant is

      eligible for a sentence reduction and, if so; (b) a proposed calculation of the new guideline

      range or the percentage below the guideline range as appropriate; (c) a report on the

      institutional adjustment of Defendant; (d) a report on the danger of Defendant to the public;

      (e) a report on the post-release plans of Defendant; and (f) Defendant's place of incarceration

      and whether that facility has video conferencing capability.

             4)      Defendant's counsel and the Government shall file a response to the Probation

      Office's supplemental report within five (5) days of receipt of the supplemental report. Prior

      to filing their responses, counsel shall confer personally in a good faith effort to resolve any

      disputes with regard to Defendant's eligibility and suitability for a sentence reduction and

      shall include in their responses the issues upon which they agree or disagree. In the event

      counsel agree that Defendant is eligible and suitable for a sentence reduction, they shall file
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      a stipulation to that effect.

              5)      Upon receipt of the Probation Office's report and counsels' responses (and

      stipulations, if any), the Court will either issue an Order based on the supplemental report

      and responses and stipulations or convene a hearing.

              6)      In the event the Court rejects a stipulation of counsel that Defendant is

      eligible and suitable for a sentence reduction, or a stipulation as to a proposed sentence, if

      any, the Court will enter an Order advising counsel of that fact and will allow counsel an

      additional period of time to supplement their responses before deciding the merits of the

      motion either on the written submissions or by way of a hearing as the Court determines.

              7)      Defendant is relieved of the responsibility of filing a separate motion

      requesting a sentence reduction.

              8)      The Clerk's Office is directed to furnish a copy of this Order to the Office of

      the Federal Public Defender, the United States Attorney's Office, the United States Probation

      Office, and the Defendant at Defendant's address of ORLANDO CCM.

              DONE AND ORDERED at Orlando, Florida, this              31st    day of January, 2008.
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      Copies to:

      All Counsel of Record
